      Case 3:11-cr-04646-GPC                 Document 120           Filed 10/21/13           PageID.293            Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case for Revocations                                             FILED
                                     UNITED STATES DISTRICT COU                                                 OCT 2 I 2013
                                           SOUTHERN DISTRICT OF CALIFORNIA                               CLERK, U.S. DISTRICT
                                                                                                      SOUTHERN OISATFllCI
              UNITED STATES OF AMERICA                               JUDGMENT IN A C                                   ,SE
                                                                     (For Revocation of probatio~n~o~r~S~u~pe~r:':vl;:'se~d;:R~e~le=a~se~)~~~~
                                v.                                   (For Offenses Committed On or After November 1, 1
          GILBERTO MANCILLA-GODINEZ (3)
                                                                        Case Number:        llCR4646-GPC

                                                                     MA YRA L. GARCIA
                                                                     Defendant's Attorney
REGlSTRAnON NO.                 28433298


IZI   admitted guilt to violation of allegation(s) No.      1

o was found guilty in violation of allegation(s) No.
                                                          ------------------------- after denial of guilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                 Nature of Violation
            I                     Committed a Federal state, or local offense




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 1 ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     October 18. 2013



                                                                     HON. Gonzalo P. Curiel
                                                                     UNITED STATES DISTRICT JUDGE




                                                                                                                         11 CR4646-GPC
        Case 3:11-cr-04646-GPC            Document 120        Filed 10/21/13    PageID.294        Page 2 of 2
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

DEFENDANT:                   GILBERTO MANCILLA-GODINEZ (3)                                        Judgment - Page 2 of 4
CASE NUMBER:                 11 CR4646-GPC

                                                   IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
10 months to run consecutively to Central District of California Case No.12CRll 02-001-MWF.




D         Sentence imposed pursuant to Title 8 USC Section 1326(b).
I:8:l     The court makes the following recommendations to the Bureau of Prisons:
          That the defendant be designated to an institution in the Southwest Region of the United States.




D         The defendant is remanded to the custody of the United States Marshal.

D         The defendant shall surrender to the United States Marshal for this district:
          D     at                            A.M.             on
          o    as notified by the United States Marshal.
                                                                    -------------------------------------
          The defendant shall surrender for service of sentence at the institution designated by the Bureau of
D
          Prisons:
          o     on or before
          D     as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                         RETURN
I have executed this judgment as follows:

          Defendant delivered on
                                   -------------------------- to -------------------------------
at
        ------------------------ , with a certified copy of this judgment.

                                                                    UNITED STATES MARSHAL



                                       By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        11 CR4646-GPC
